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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                           )
In re:                                                     )    Chapter 11
                                                           )
THE GREAT ATLANTIC & PACIFIC TEA                           )    Case No. 10-24549 (RDD)
COMPANY, INC., et al.1                                     )
                                                           )
                                                           )
                     Reorganized Debtors.                  )    Jointly Administered
                                                           )

               AGREED ORDER PURSUANT TO 11 U.S.C. § 362(d) MODIFYING
                 THE AUTOMATIC STAY IMPOSED BY 11 U.S.C. § 362(a)

         Upon the motion (the “Motion”) of Charlene J. Wagner (the “Movant”) for an order

(this “Order”) pursuant to section 362(d) of title 11 of the United States Code

(the “Bankruptcy Code”) vacating the automatic stay imposed in the above-captioned case by

section 362(a) of the Bankruptcy Code as to the Movant’s interests in the reorganized debtors’

co-defendants’ applicable insurance coverage (the “Non-Debtor Insurance Policies”) and/or the

co-defendants’ non-debtor assets (the “Non-Debtor Assets”) to allow the Movant’s enforcement

of her rights in, and remedies in and to, the Non-Debtor Insurance Policies and/or Non-Debtor

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    The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
    federal tax identification number, are: The Great Atlantic & Pacific Tea Company, Inc. (0974); 2008
    Broadway, Inc. (0986); AAL Realty Corporation (3152); Adbrett Corporation (5661); Amsterdam Trucking
    Corporation (1165); APW Supermarket Corporation (7132); APW Supermarkets, Inc. (9509); Bergen Street
    Pathmark, Inc. (1604); Best Cellars DC Inc. (2895); Best Cellars Inc. (9550); Best Cellars Licensing Corp.
    (2896); Best Cellars Massachusetts, Inc. (8624); Best Cellars VA Inc. (1720); Bev, Ltd. (9046); Borman’s Inc.
    (9761); Bridge Stuart, Inc. (8652); Clay-Park Realty Co., Inc. (0902); Compass Foods, Inc. (0653); East
    Brunswick Stuart, LLC (9149); Farmer Jack’s of Ohio, Inc. (5542); Food Basics, Inc. (1210); Gramatan
    Foodtown Corp. (5549); Grape Finds At DuPont, Inc. (9455); Grape Finds Licensing Corp. (7091); Greenlawn
    Land Development Corp. (7062); Hopelawn Property I, Inc. (6590); Kohl’s Food Stores, Inc. (2508); Kwik
    Save Inc. (8636); Lancaster Pike Stuart, LLC (9158); LBRO Realty, Inc. (1125); Lo-Lo Discount Stores, Inc.
    (8662); Mac Dade Boulevard Stuart, LLC (9155); McLean Avenue Plaza Corp. (5227); Milik Service
    Company, LLC (0668); Montvale Holdings, Inc. (6664); North Jersey Properties, Inc. VI (6586); Onpoint, Inc.
    (6589); Pathmark Stores, Inc. (9612); Plainbridge, LLC (5965); SEG Stores, Inc. (4940); Shopwell, Inc. (3304);
    Shopwell, Inc. (1281); Spring Lane Produce Corp. (5080); Super Fresh/Sav-A-Center, Inc. (0228); Super Fresh
    Food Markets, Inc. (2491); Super Market Service Corp. (5014); Super Plus Food Warehouse, Inc. (9532);
    Supermarkets Oil Company, Inc. (4367); The Food Emporium, Inc. (3242); The Old Wine Emporium of
    Westport, Inc. (0724); The South Dakota Great Atlantic & Pacific Tea Company, Inc (4647); Tradewell Foods
    of Conn., Inc. (5748); Upper Darby Stuart, LLC (9153); and Waldbaum, Inc. (8599). The location of the
    Reorganized Debtors’ corporate headquarters is Two Paragon Drive, Montvale, New Jersey 07645.


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Assets [Docket No. 3773]; and the Bankruptcy Court having jurisdiction to consider the Motion

and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and consideration of the

Motion and the relief requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b);

and venue being proper in this District and before this Bankruptcy Court pursuant to 28 U.S.C.

§§ 1408 and 1409; and service and notice of the Motion having been adequate and appropriate

under the circumstances and no other or further notice is required; and the above-captioned

reorganized debtors (the “Reorganized Debtors”) having not opposed the relief requested in the

Motion; and upon the agreement of the Reorganized Debtors and the Movant to this Order; and

upon all of the proceedings had before the Court; and after due deliberation and sufficient cause

appearing, it is HEREBY ORDERED THAT:

          1.   The Motion is granted to the extent provided herein.

          2.   The automatic stay imposed by section 362(a) of the Bankruptcy Code is vacated

for the sole and limited purpose of allowing the Movant to seek recovery from proceeds of the

Non-Debtor Insurance Policies and/or the Non-Debtor Assets (the “Action”).

          3.   Any recoveries by the Movant as a result of the Action, including costs and

punitive damages, if any, shall be limited to the proceeds available under the

Non-Debtor Insurance Policies and/or Non-Debtor Assets, if any, and the Movant may not seek

to enforce any such recovery from the Reorganized Debtors’ estate.

          4.   The Movant shall waive any and all claims and shall not file any further claims

against any and all property of the Reorganized Debtors’ estates, if any, in connection with the

Action.

          5.   Notwithstanding anything herein to the contrary, the Movant shall waive any

recovery otherwise available from the Non-Debtor Insurance Policies and/or the Non-Debtor

Assets (or the proceeds thereof) to the extent the Reorganized Debtors, their estates, or their
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successors would be required to indemnify the holder of the Non-Debtor Insurance Policies

and/or Non-Debtor Assets, provide contribution to the holder of the Non-Debtor Insurance

Policies and/or Non-Debtor Assets, or hold the co-defendants covered by the Non-Debtor

Insurance Policies and/or who hold the Non-Debtor Assets harmless on account of the Action.

        6.     Other than the relief afforded herein, all protections afforded under section 362 of

the Bankruptcy Code shall remain in full force and effect.

        7.     The Movant is hereby authorized to restore the Action to the calendar of the

Supreme Court, Queens County, Index No. 18686/08 to proceed solely against the Non-Debtor

Insurance Policies and/or the Non-Debtor Assets.

        8.     The Reorganized Debtors are authorized to take all actions necessary to effectuate

the relief granted pursuant to this Order in accordance with the Motion.

        9.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

        10.    The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.



Dated: White Plains, New York                      /s/Robert D. Drain
       July 2, 2012                                United States Bankruptcy Judge




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